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       UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT


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                                                                                      Atlanta.
       CASSANDRA JOHNSON-LANDRY }                                                              Georgia m
       DEBTOR                                       BRC I 8-55697LRC                      18
                                                                                                 2021



       OBJECTION TO CLAIM NUMBER 14 CACH LLC

       CASSANDRA JOHNSON-LANDRY. Debtor OBJECTS to submitted claim. This is
       a commercial claim and should not be submitted under Debtor's personal
       Bankruptcy. ALLIANCE FOR CHANGE THROUGH TREATMENT LLC. did not
       file Bankruptcy. Please refer to Item document number 186 on I3RC Docket. This
       claim is of a false amount also.




       lel Day of Ma 2021


       CASSANDRA       HNSON-LA      RY, PRO-SE
Case 18-55697-lrc   Doc 373     Filed 05/18/21 Entered 05/19/21 11:04:05            Desc Main
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       UN rrED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT
                             CERTIFICATE OF SERVICE


       I, CASSANDRA JOHNSON-LANDR'Y, Debtor currently submit Certificate of Service
       Regarding OBJECTION TO CLAIM NUMBER14 CACH LLC. the 18th day of May
       2021. Debtor is over the age of 18 years. COS and Objection will be mailed by the USPS
       to:

       CACH LLC.
       55 Beanie PL
       Greenville, SC 2960


       S. GREGORY HAYS, CHAPTER 7 TRUSTEE
       2964 PEACHTREE ROAD, SUITE 555
       ATLANTA, GEORGIA 30305

       HERBERT BROADFOOT, ESQ
       2964 PEACHTREE ROAD, SUITE 555
       ATLANTA, GEORGIA 30305




        I 8TH DAY OF MAY 2021



       CASSANDRA J HNSON-L                Y, PRO SE
